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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:11CR00233-05 JLH

ROBERT SHIPP                                                                          DEFENDANT

                                              ORDER

       On May 15, 2012, the Court entered an order setting a deadline of May 29, 2012, for counsel

for the government or defendant to dispute the findings in the forensic evaluation report, to file a

motion for hearing, or motion in opposition to the report, including a concise statement of opposition

to the report and supporting authorities.

       No opposition to the report has been filed. Therefore, the conclusions stated in the report are

adopted as the conclusions and findings of the Court.

       IT IS SO ORDERED this 31st day of May, 2012.



                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
